        Case 17-40297   Doc 657   Filed 09/10/18   Entered 09/10/18 12:18:46   Desc Main Document   Page 1 of 10




                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

IN RE:                                                      §
                                                            §
TX. C.C., INC., et al.1                                     §    CASE NO. 17-40297
                                                            §        (Chapter 7)
DEBTORS                                                     §    Jointly Administered

               MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT

                                            21-Day Negative Notice

Your rights may be affected by the relief sought in this pleading. You should read this
pleading carefully and discuss it with your attorney, if you have one in this bankruptcy case.
If you oppose the relief sought by this pleading, you must file a written objection, explaining
the factual and/or legal basis for opposing the relief.

No hearing will be conducted on this motion unless a written objection is filed with the Clerk
of the United States Bankruptcy Court and served upon the party filing this pleading
WITHIN TWENTY-ONE (21) DAYS FROM THE DATE OF SERVICE shown in the
certificate of service unless the court shortens or extends the time for filing such objection.
If no objection is timely served and filed, this pleading shall be deemed to be unopposed, and
the court may enter an order granting the relief sought. If an objection is filed and served
in a timely manner, the court will thereafter set a hearing with appropriate notice. If you
fail to appear at the hearing, your objection may be stricken. The court reserves the right to
set a hearing on any matter.

        Christopher J. Moser (the “Trustee”), the chapter 7 trustee for the above referenced Debtors

(“Debtors”) files this Motion for Approval of Settlement Agreement (“Motion”) and would show

the Court as follows:




1
 The debtors in these Chapter 7 cases, converted from Chapter 11 cases, (each a “Debtor” and collectively, the
“Debtors”) are TX. C.C., Inc. (Case No. 17-40297), Texas Land & Cattle of Fairview, LLC (Case No. 17-40300),
Lone Star Steakhouse & Saloon of Springfield, Inc. (Case No. 17-40303), Lone Star Steaks, Inc. (Case No. 17-
40330), Texas Land & Cattle Steakhouse of North Carolina (Case No. 17-40332), TXLC of Arlington II, LLC (Case
No. 17-40333), Lone Star Steakhouse & Saloon of Southern Missouri (Case No. 17-40334), Lone Star Steakhouse
& Saloon of Florida, Inc. (Case No. 17-40335, TXLC of Missouri, Inc. (Case No. 17-40336), Lone Star Steakhouse
& Saloon of Michigan, Inc. (Case No. 17-40339), Lone Star Steakhouse & Saloon of Mississippi, Inc. (Case No. 17-
40340), Lone Star Steakhouse & Saloon of Oklahoma, Inc. (Case No. 17-40341), Lone Star Steakhouse & Saloon of
Ohio, Inc. (Case No. 17-40342), Texas LC Liquor Company (Case No. 17-40443, and LS Management, Inc. (Case
No. 17-40508).

MOTION TO APPROVE SETTLEMENT AGREEMENT                                                                             Page | 1
        Case 17-40297   Doc 657   Filed 09/10/18   Entered 09/10/18 12:18:46   Desc Main Document   Page 2 of 10




                                                       FACTS

    1. Background Facts

        1.       On February 13, 2017 (the “Petition Date”), TX. C.C., Inc. (“Debtor”) filed with

this Court a voluntary petition under Chapter 11 of the Bankruptcy Code. TX. C.C.’s bankruptcy

case was jointly administered with affiliated debtors (collectively, the “Debtors”) pursuant to the

Court’s Order entered on March 14, 2017.

        2.       On September 7, 2017 (the “Conversion Date”), the Debtors’ Chapter 11 cases were

converted to cases under Chapter 7 of the Bankruptcy Code.

        3.       Christopher J. Moser was thereafter appointed interim trustee of the estate and is

the acting Chapter 7 Trustee of the bankruptcy estates of the Debtors.

        4.       The Debtors, with the exception of LS Management, Inc. and TX LC Liquor

Company, owned and operated either Lone Star Steakhouse & Saloons (“Lone Star”) or Texas

Land & Cattle Steak Houses (“Land & Cattle”).

        5.       In addition to the Debtors, thirty-six (36) non-debtor Lone Star entities and four (4)

non-debtor Land & Cattle entities exist. Some of these non-debtor entities apparently have

additional subsidiaries. Lone Star and Land & Cattle are sometimes referred to herein as the

“Operating Entities.”

        6.       All the Lone Star entities are or were owned by LSF5 Cactus, LLC (“Cactus”) and

all of the Land & Cattle are or were owned by LSF5 Spur, LLC (“Spur”). 2 Spur and Cactus are

owned by LSF5 Cowboy Holdings, LLC (“Cowboy”). Cowboy is owned in turn by Day Star

Restaurant Holdings, LLC (“Day Star”) (collectively, the Cactus, Spur, Cowboy, and Day Star




2The Debtor entities were sold pursuant to the Court’s sale orders. See Docket Nos. 410, 411, 422, 425, 426, 435,
437, 465, 486.

MOTION TO APPROVE SETTLEMENT AGREEMENT                                                                             Page | 2
       Case 17-40297   Doc 657   Filed 09/10/18   Entered 09/10/18 12:18:46   Desc Main Document   Page 3 of 10




entities are referred to herein as the “Parent Companies”). The non-debtor Operating Entities and

the Parent Companies are referred to herein collectively as the “Non-Debtors”).

   B. The Motion to Consolidate

       7.       For various reasons, the Trustee filed a Motion to Consolidate the Debtors together

with the Non-Debtors into one entity for purposes of bankruptcy administration and liquidation on

December 12, 2017 (the “Motion to Consolidate”). Among the reasons for consolidating the

Debtors and Non-Debtors is the cash management practice of the Parent Companies that existed

prior to the Petition Date, and, upon information and belief, for a short period of time post-petition,

whereby all cash proceeds from operations of the Debtors were funneled up to the Parent

Companies’ bank accounts for purposes of paying the costs of operations for all of the Debtors

and Non-Debtors (the “Cash Management System”).

       8.       For the reasons just described, in addition to having grounds to consolidate the

Parent Companies, the realities of the Cash Management System also provided grounds for the

Trustee to seek turnover and/or avoidance of all transfers from any of the Debtors to the Parent

Companies. The Trustee considered moving forward on such claims; however, the lack of good

accounting records in possession of the Trustee, especially records of the Non-Debtors, and the

reality that all the Debtors and Non-Debtors were actually treated as a single entity with respect to

the Cash Management System tilted the calculation in favor of the consolidation of Debtors with

Non-Debtors. Nevertheless, such a consolidation would result in bringing additional claims into

the already existing bankruptcy estates.

       C. The Accounting

       9.       Ultimately, sometime after the Motion to Consolidate was filed, the Parent

Companies agreed to share information with the Trustee on an informal basis and to cooperate in



MOTION TO APPROVE SETTLEMENT AGREEMENT                                                                            Page | 3
       Case 17-40297   Doc 657   Filed 09/10/18   Entered 09/10/18 12:18:46   Desc Main Document   Page 4 of 10




completing an accounting of the funds that were transferred from the Debtors to the Parent

Companies and the expenditure of such funds, including on whose behalf (meaning which Debtor

entity), through the payment of rent, vendors, employees, etc., such funds were used to further the

operations of the business. The Trustee’s accountants participated in conducting the accounting

and verified the results using records and assistance from the Parent Companies’ outside lawyer

and financial professional and also the Debtors’ records where available (“Accounting”).

       10.      The Accounting was limited in time to December 7, 2016 forward until the date in

May 2017 when the bank accounts of the Parent Companies were closed and all funds transferred

to the IOLTA account of the Parent Companies’ counsel, John Henry. The beginning date of the

accounting was chosen because the relevant bank accounts at that time were at or approximately

at $0.00. The Accounting reviewed the transfer and ultimate expenditure of over $45,000,000 of

funds that were transferred to the Parent Companies by Debtors and Non-Debtors and ultimately

encompassed over 750,000 data points in a spreadsheet created to track all the relevant

transactions. In addition to this Accounting, the Parent Companies provided an additional

accounting reviewed by the Trustee’s accountants that tracked whether and to what extent such

funds are sales tax and therefore the trust funds of one of the taxing authorities where a restaurant

of the Debtors and Non-Debtors operated (the “Trust Funds Accounting”).

       11.      The Parent Companies have agreed to further assist the Trustee by providing

documents and information the Trustee requires to complete his review of the assets and potential

claims of the estate under Chapter 5 of the Bankruptcy Code. As such, the Parent Companies have

agreed to provide copies of all relevant bank accounts of the Parent Companies for February 2015-

October 2017 that paid anything on account of the Debtors; copies of check registers for the

accounts and time periods listed noted above; and vendor files for the time period noted above.



MOTION TO APPROVE SETTLEMENT AGREEMENT                                                                            Page | 4
       Case 17-40297   Doc 657   Filed 09/10/18   Entered 09/10/18 12:18:46   Desc Main Document   Page 5 of 10




       D. The Settlement Payment

       12.      The funds remaining currently following the close of the Parent Companies’ bank

accounts is $1,099,230.00 (the “Remaining Funds”). All the Remaining Funds are subject to sales

tax claims; however, a portion of such Remaining Funds are not subject to sales tax trust fund

claims. Following the Accounting and the Trust Funds Accounting, the Parent Companies and the

Trustee agree that the total amount of such Remaining Funds that can be traced to the Debtors and

which are not trust funds is $113,000.00. Thus, the Trustee and the Parent Companies have agreed,

subject to Court approval, for the Parent Companies to turnover $113,000 of the Remaining Funds

to the Trustee (the “Settlement Payment”) in return for the Trustee’s release of all claims of the

Debtors’ estates to the Remaining Funds (the “Settlement Agreement”). A copy of the Settlement

Agreement is attached hereto as Exhibit “A”.

       13.      None of the funds that make up the Settlement Payment are subject to trust fund

claims. The Trust Fund Accounting was conducted by tracking the lowest intermediate balance

test which is the legal standard for such claims. The Settlement Agreement will resolve the Motion

to Consolidate with respect to the Trustee’s request to consolidate the Debtors with the Non-

Debtors. The Settlement Agreement will also bring to the estates all funds that remain from those

that were transferred to the Parent Companies by the Debtors either prior to or after the Petition

Date without bringing any additional claims against the Debtors’ estates, including any trust fund

claims. The Settlement Agreement is conditioned upon the Court’s approval, including that the

Settlement Payment funds are not trust funds of any entity and not subject to any trust fund claims

such that they can be administered by the Trustee in these bankruptcy cases. The Trustee will take

up the remaining request for consolidation of the Debtors after the approval of the Settlement

Agreement.



MOTION TO APPROVE SETTLEMENT AGREEMENT                                                                            Page | 5
       Case 17-40297   Doc 657   Filed 09/10/18   Entered 09/10/18 12:18:46   Desc Main Document   Page 6 of 10




        14.     In addition to the notice required by the Bankruptcy Code and Rules regarding

creditors of the Debtors, notice of this Motion will be provided to all taxing authorities that may

have sales tax claims against the Remaining Funds and/or the Debtors.

    E. Additional Matters
       (1)    Credit Refund shall become property of the estate.

        14.     Two additional matters have been agreed to by the Trustee and the Parent

Companies that are not included in the written Settlement Agreement attached hereto, but

regarding which the Trustee seeks Court approval. These are a credit refund from Exponent HR in

the amount of $10,810.26 (“Credit Refund”) and the abandonment and destruction of sensitive

records and the abandonment of office property that is burdensome or of inconsequential value to

the estates.

        15.     As described above, the Debtors and Non-Debtors were operated essentially as one

enterprise until the Petition Date when the Debtors were thereafter run separately but nevertheless

as one enterprise in themselves. Exponent HR was a service provider of the Debtors during the

bankruptcy case and therefore the Trustee asserts that the Parent Companies have no interest in the

Credit Refund (all the Non-Debtors other than the Parent Companies are defunct restaurant

locations that were abandoned prior to the Petition Date such that they also would have no interest

in the Credit Refund).

        16.     Accordingly, the Trustee and the Parent Companies agree to the relinquishment by

Exponent HR of the Credit Refund to the Trustee so that the Credit Refund will become property

of the estate. The Trustee and the Parent Companies request the Court include in any order

approving this Motion that the Credit Refund is property of the estates and that, in return for

payment to the Trustee of the Credit Refund, the Trustee releases any claims of the estates against




MOTION TO APPROVE SETTLEMENT AGREEMENT                                                                            Page | 6
       Case 17-40297   Doc 657   Filed 09/10/18   Entered 09/10/18 12:18:46   Desc Main Document   Page 7 of 10




Exponent HR except with respect to any defenses to any bankruptcy claim filed by Exponent HR

against the Debtors’ estates.

           (2)   Abandonment/Destruction of Office Property and Records

           17.   As of about August 1, 2017, the Debtors had sold or closed all restaurant operations.

As of the Conversion Date, certain personal property and records of the Debtors were placed into

two storage units at 2200 Avenue K, Plano TX 75074 (the “Storage Units”).

           18.   The personal property in storage consists of some office furniture, including a few

desks, desk chairs, and filing cabinets, and some uniforms and other clothing and merchandise

marked with the Lone Star Steakhouse name (the “Personal Property”). As for records, some

records in storage are or may be useful to the Trustee, however, most of the remaining records in

the Storage Units are employee records that are not of benefit to the bankruptcy estate and contain

personally identifiable information such as social security numbers (the “Records”).

           19.   The office furniture is relatively minimal and appears to be of less value than the

cost of sale. Similarly, the other Personal Property is of limited value because it is marked with

the Lone Star Steakhouse logo and a sale of such items would cost more than they are worth.

Accordingly, the Personal Property is of inconsequential value and a burden to the bankruptcy

estates.

           20.   Aside from some small amount of financial and litigation related records that the

Trustee will maintain, the Records are of inconsequential value to the estates and, at least in part,

contain sensitive information that should be destroyed.

           21.   Because of the ownership structure of the Debtors and the Parent Companies, the

Parent Companies could arguably claim an interest in the Personal Property and potentially all or

a portion of the Records. The Trustee and the Parent Companies have agreed to resolve any



MOTION TO APPROVE SETTLEMENT AGREEMENT                                                                            Page | 7
       Case 17-40297   Doc 657   Filed 09/10/18   Entered 09/10/18 12:18:46   Desc Main Document   Page 8 of 10




competing claims in the manner set forth herein and the Trustee requests approval of such

compromise in accordance with Rule 9019. In addition, pursuant to §554(a) of the Bankruptcy

Code, a trustee may abandon any property of the estate that is burdensome to the estate or is of

inconsequential value and benefit to the estate. In the opinion of the Trustee, the Personal Property

is of no value to the bankruptcy estate. In addition, other than the records identified above that the

Trustee will maintain, the Records are of no value to the bankruptcy estate and should be destroyed.

Therefore, the Trustee seeks authority to abandon the Personal Property and the Records, and to

destroy those records that contain identifying information of individuals.

       22.      Per the parties’ agreement, the Personal Property will be abandoned to the Parent

Companies. The destruction of the Records will be overseen by the Parent Companies and the

Trustee and will be paid for out of the Remaining Funds that are not included in the Settlement

Payment (but which are also not trust funds). The cost of destruction is believed by the Trustee to

be a de minimis amount and not in excess of $2,500.

                        LEGAL BASIS FOR THE RELIEF REQUESTED

       23.      The Trustee believes the Settlement Agreement is in the best interests of the

creditors and the bankruptcy estate. Attached hereto as Exhibit “B” is the affidavit of the Trustee

in support of the approval of the Settlement Agreement.

       24.      Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by the trustee and after notice and a hearing, the court may approve a compromise

and settlement.”

       25.      In deciding whether to approve a proposed settlement agreement or compromise, a

bankruptcy court should consider the following factors:

                a.       the probability of success on the merits and the resolution of the dispute;
                b.       the complexity of the litigation being settled;


MOTION TO APPROVE SETTLEMENT AGREEMENT                                                                            Page | 8
       Case 17-40297   Doc 657   Filed 09/10/18   Entered 09/10/18 12:18:46   Desc Main Document   Page 9 of 10




                c.       the expense, inconvenience and delay associated with litigating the
                         dispute; and
                d.       the paramount interests of creditors.

Official Comm. of Unsecured Creditors v. Cajun Elec. Power Coop., Inc. (In re Cajun Elec. Power

Coop., Inc.) 119 F.3d 349, 356 (5th Cir. 1997); Connecticut General Life Ins. Co. v. United

Companies Fin. Corp. (In re Foster Mortgage Corp.), 68 F.3d 914 (5th Cir. 1995); Texas Extrusion

Corp. v. Lockheed Corp. (In re Texas Extrusion Corp.), 844 F.2d 1142, 1158-59 (5th Cir.), cert.

denied, 488 U.S. 926 (1988); U.S. v. Aweco, Inc., 752 F.2d 293, 298 (5th Cir.), cert. denied, 469

U.S. 880 (1984).

       26.      While it is necessary for the proponent of a compromise to set forth the factual and

legal basis for the compromise so the court can make an intelligent and informed evaluation of the

proposed settlement, it is not incumbent upon the proponent to present a mini-trial or a full

evidentiary hearing. Texas Extrusion, 844 F.2d at 1158-59; Aweco, 725 F.2d at 298.

       27.      Given the potential costs of litigating the Trustee’s claims to the Remaining Funds,

the finite character of those Remaining Funds, and the increase in claims and the associated cost

and expense that would result from consolidation of the Debtors and Non-Debtors as well as the

verified fact of accounting for the Remaining Funds that only the Settlement Payment amount are

both traceable to the Debtors and not trust funds, the Settlement Agreement is the best resolution

that can be obtained to the estates’ claims to the Remaining Funds and the Trustee’s Motion to

Consolidate the Debtors and Non-Debtors. Therefore, the Settlement Agreement is in the best

interests of the bankruptcy estate and should be approved. As set forth above, the Credit Refund

is from a service provider engaged by the Debtors post-petition such that it is property of the estates

and the payment of same to the Trustee should be approved. Also as set forth above, the

abandonment of the Personal Property and destruction of the Records is appropriated under Section



MOTION TO APPROVE SETTLEMENT AGREEMENT                                                                            Page | 9
       Case 17-40297   Doc 657   Filed 09/10/18   Entered 09/10/18 12:18:46   Desc Main Document   Page 10 of 10




554 of the Bankruptcy Code and should also be approved under such authority or under Rule 9019

as a compromise in the best interests of the estates.

        WHEREFORE, PREMISES CONSIDERED, the Trustee prays the Court approve the

Settlement Agreement attached as Exhibit “A” hereto, authorize the Trustee to undertake any

action necessary to consummate the Settlement Agreement, and also approve the additional items

described above, and that the Trustee have such other and further relief to which he may be justly

entitled.

                                                       Respectfully submitted,

                                                       QUILLING, SELANDER, LOWNDS
                                                          WINSLETT & MOSER, P.C.
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                                                       By:       /s/ Timothy A. York
                                                                 Timothy A. York
                                                                 State Bar No. 24035719

                                                       ATTORNEYS FOR THE TRUSTEE


                                      CERTIFICATE OF SERVICE

        I hereby certify that on September 10, 2018, a true and correct copy of the foregoing Motion
was served by electronic transmission via the Court’s CM/ECF system upon all parties registered
to and receiving electronic service and notice in this bankruptcy case, or otherwise by U.S. regular
mail upon those parties not receiving ECF notice as listed on the attached Limited Service List
pursuant to the Order Granting Emergency Motion For Order Limiting Notice And Establishing
Additional Notice Procedures (Docket No. 46).
Note: The service list is omitted from service copies to avoid unnecessary copying and postage charges.


                                                                   /s/ Timothy A. York




MOTION TO APPROVE SETTLEMENT AGREEMENT                                                                        Page | 10
